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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


       PROPOSED ORDER GRANTING PLAINTIFFS’ MOTION FOR
                  PRELIMINARY INJUNCTION

       This matter is before the Court on the Motion for Additional Injunctive

Relief of Plaintiffs Coalition for Good Governance, William Digges III, Laura

Digges, Megan Missett, and Ricardo Davis (the “Coalition Plaintiffs”).

       Upon considering the motion and supporting authorities, the response from

the Defendants, and the evidence and pleadings of record, the Court finds that

Plaintiffs are likely to succeed on the merits of their claims, that they will be

irreparably harmed if this motion is not granted, that the balance of equities tip in

Plaintiffs’ favor, and that an injunction is in the public interest. See Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
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         The Court accordingly GRANTS the motion and issues the relief set forth

below.

      UNTIL FURTHER ORDER OF THIS COURT:

      1. Electronic Pollbook Corrections and Security.

         Within five days of the entry of this order, authorized representatives of

Defendant Secretary of State and the Coalition Plaintiffs shall confer and shall file

a plan with this Court that addresses the following topics with respect to the

November 6, 2018 election: (a) the procedures to be undertaken by election

officials to address errors in the voter registration database that may cause eligible

voters to receive the wrong ballot, be assigned to the wrong precinct in the

electronic pollbook, or be prevented from casting a regular ballot in their properly

assigned precinct; (b) the procedures to be undertaken by the Secretary’s staff and

by county election officials and poll workers to provide for use of the paper back-

up of the pollbook in the polling places for adjudicating voter eligibility and

precinct assignment problems.

      2. Paper Ballot Audit

      Within five days of the entry of this order, authorized representatives of

Defendant State Election Board and the Coalition Plaintiffs shall confer and shall

file with this Court a proposed plan for a pre-certification audit of the paper ballot
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tabulations of the November 6, 2018 and December 4, 2018 elections. The plan

shall be based on the audit principles discussed in Professor Stark’s Declaration,

(Doc. 296, at 12 ¶¶ 27-31, at 13-14 ¶34-39, at 14-17 ¶41-47, and Exhibit G ¶¶ 9-

12) and focused on contested candidate races on the ballot.

      3. County Election of Paper Ballots

      In all or any upcoming elections, the State Defendants are enjoined from

directly or indirectly prohibiting counties from adopting paper ballots at the polling

place if the authorized officials in those counties determine that it is feasible to use

paper ballots in such counties.

      4. DRE Tape Audit

      Prior to the certification of the election, the Secretary of State shall direct

each county superintendent of elections to confirm the mathematical accuracy of

the reported summary of individual printed DRE machine vote tallies printed at the

polling places, in a manner consistent with the recommendations of Professor Stark

as set forth in Paragraph 8 of his Supplemental Declaration.

      5. Paper Ballots – December Special Elections and Run-off Elections

      Defendants are enjoined from conducting the December 2018 runoff election

and December 2018 special elections through the use of DRE voting units and

enjoined to conduct such elections using paper ballots; provided, however, that
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Defendants shall make available at each polling place at least one voting system

equipped for individuals with disabilities that produces a permanent paper record,

see 52 U.S.C. § 21081(a)(2)(B) and § 21081(a)(3)(B), which may not be a

paperless DRE voting unit unless no other equipment equipped for individuals with

disabilities is reasonably available that satisfies the requirement to have a manual

audit capacity.

      6. Paper Ballots – Elections after January 1, 2019 Elections

      Defendants are enjoined from conducting any election after January 1, 2019

through the use of DRE voting units and enjoined to conduct such elections using

paper ballots; provided, however, that Defendants shall make available at each

polling place at least one voting system equipped for individuals with disabilities

that produces a permanent paper record, see 52 U.S.C. § 21081(a)(2)(B) and

§ 21081(a)(3)(B), which may not be a paperless DRE voting unit unless no other

equipment equipped for individuals with disabilities is reasonably available that

satisfies the requirement to have a manual audit capacity.

      SO ORDERED this ___ day of _____, _______.

                                       ________________________
                                       U.S. District Court Judge Amy Totenberg




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               FOR THE NORTHERN DISTRICT OF GEORGIA
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  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                     Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


                            CERTIFICATE OF COMPLIANCE
         I hereby certify that the foregoing document has been prepared in accordance with

  the font type and margin requirements of LR 5.1, using font type of Times New Roman

  and a point size of 14.

                                          /s/ Bruce P. Brown
                                          Bruce P. Brown
                                          Georgia Bar No. 064460
                                          BRUCE P. BROWN LAW LLC
                                          Attorney for Coalition for
                                          Good Governance
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  BRIAN KEMP, ET AL.,
  Defendants.


                         CERTIFICATE OF SERVICE

       This is to certify that I have this day caused the foregoing COALITION

PLAINTIFFS’ PROPOSED ORDER GRANTING MOTION FOR ADDITIONAL

INJUNCTIVE RELIEF to be served upon all other parties in this action by via

electronic delivery using the PACER-ECF system.

       This 2nd day of October, 2018.

                                        /s/ Bruce P. Brown
                                        Bruce P. Brown
                                        Georgia Bar No. 064460
                                        BRUCE P. BROWN LAW LLC
                                        Attorney for Coalition for
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